AO 245C-CAED (Rev. 3/04) Sheet 1 - Amended Judgment in a Criminal Case                                  (NOTE: Identify Changes with Asterisks*)

                          Case 2:07-cr-00090-MCE Document 36 Filed 04/22/08 Page 1 of 8
                                           United States District Court
                                                    Eastern District of California

               UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                          v.                                                   (For Offenses Committed On or After November 1, 1987)
                  KENNETH CERVELLIN                                            Case Number: 2:07CR00090-01


Date of Original Judgment:               01/31/2008                            Patrick Hanly, Retained
(Or Date of Last Amended Judgment)                                             Defendant’s Attorney


Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                 [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances                          [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed R. Crim. P. 35(b))                                                     Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))       [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                 Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[ ] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                 [ ] 18 U.S.C. §3559(c)(7),      [U] Modification of Restitution Order
THE DEFENDANT:
[U]         pleaded guilty to count: 1 of the Information .
[]          pleaded nolo contendere to counts(s)         which was accepted by the court.
[]          was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                 Date Offense                                             Count
Title & Section             Nature of Offense                                    Concluded                                                Number
18 USC 1341                                 Mail Fraud                                                  02/23/2006                        1




        The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)         and is discharged as to such count(s).
[]          Count(s)      (is)(are) dismissed on the motion of the United States.
[]          Indictment is to be dismissed by District Court on motion of the United States.
[U]         Appeal rights given.                       [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                                         01/31/2008
                                                                         Date of Imposition of Judgment



                                                                         Signature of Judicial Officer



                                                                         MORRISON C. ENGLAND, JR., United States District Judge
                                                                         Name & Title of Judicial Officer

                                                                         4/22/2008
                                                                         Date
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A O 245B -C A E D (R ev. 3/04) Sheet 2 - Im prisonm ent
CASE NUMBER:                   2:07CR00090-01                                                                Judgment - Page 2 of 8
DEFENDANT:                     KENNETH CERVELLIN


                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 15 months.




[U]       The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends that the defendant be incarcerated in the Lompoc, California facility, but only insofar as
          this accords with security classification and space availability.


[]        The defendant is remanded to the custody of the United States Marshal.


[]        The defendant shall surrender to the United States Marshal for this district.
          [ ] at     on     .
          [ ] as notified by the United States Marshal.


[U]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          [U] before 2:00 p.m. on 04/15/2008.
          [ ] as notified by the United States Marshal.
          [U] as notified by the Probation or Pretrial Services Officer.
          If no such institution has been designated, to the United States Marshal for this district.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                         to

at                                               , with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL



                                                                                             By
                                                                                                     Deputy U.S. Marshal
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A O 245B -C A E D (R ev. 3/04) Sheet 3 - Supervised R elease
CASE NUMBER:                  2:07CR00090-01                                                                              Judgment - Page 3 of 8
DEFENDANT:                    KENNETH CERVELLIN


                                                      SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[U]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]       The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
          jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
          employed, or is a student. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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A O 245B -C A E D (R ev. 3/04) Sheet 3 - Supervised R elease
CASE NUMBER:                  2:07CR00090-01                                                           Judgment - Page 4 of 8
DEFENDANT:                    KENNETH CERVELLIN


                                      SPECIAL CONDITIONS OF SUPERVISION
          1.    The defendant shall submit to the search of his person, property, home, and vehicle by a United
                States Probation Officer, or any other authorized person under the immediate and personal
                supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
                Failure to submit to a search may be grounds for revocation. The defendant shall warn any
                other residents that the premises may be subject to searches pursuant to this condition.

          2.    The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
                restitution order by this judgment is paid in full, unless the defendant obtains approval of the
                court.

          3.    The defendant shall provide the probation officer with access to any requested financial
                information.

          4.    The defendant shall not incur new credit charges or open additional lines of credit without the
                approval of the probation officer.

          5.    The defendant shall (I) consent to the probation officer and /or probation service representative
                conducting periodic unannounced examinations of any computer equipment or device that has
                an internal or external modem which may include retrieval and copying of all data from the
                computer or device and any internal or external peripherals to ensure compliance with
                conditions and/or removal of such equipment for purposes of conducting a more thorough
                inspection; and (ii) consent at the direction of the probation officer to having installed on the
                computer or device, at defendant’s expense, any hardware or software systems to monitor the
                computer or device’s use.

          6.    The defendant is not to possess unauthorized financial information of others or use financial
                information of others in an unauthorized manner.
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A O 245B -C A ED (R ev. 3/04) Sheet 5 - Criminal M onetary Penalties
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DEFENDANT:                       KENNETH CERVELLIN


                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                          Assessment                      Fine                Restitution
      Totals:                                              $ 100.00                   $ 31,013.60              $ 750.00


[]    The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
      all nonfederal victims must be paid before the United States is paid.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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A O 245B -C A ED (R ev. 3/04) Sheet 5 - Criminal M onetary Penalties
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Name of Payee                                             Total Loss*   Restitution Ordered   Priority or Percentage
Jaqueline Jarrot, Inc.                                      $50.00
1135 Rexford Drive, #201
Los Angeles, California 90035

John Bloomberg / Bloomberg & Griffin                         $150.00
1013 N. California Street
Stockton, California 95202

Michelle J. Cozad / Firehire, Inc.                            $25.00
9472 Monte Cresta W ay
Elk Grove, California 95624

Dale Ward / Combie True Value Hardward                        $25.00
10560 Combie Road
Auburn, California 95602

Julie C. Larsen / Artmuse Music                              $150.00
958 Helen Avenue
San Leandro, California 94577

Diane Hamlyn / Davisville Travel Ltd.                        $150.00
1871 - 11 th Avenue
Sacramento, California 95818

Dennis Geiger / Koch Farm & Home Supply                       $25.00
661 Mariah Drive
Yuba City, California 95991

Richard Stack / Bark Research                                 $50.00
3 Bell Canyon Drive
Dove Canyon, California 92679

Geroge Garcia / Ad Force Private Security                     $50.00
P.O. Box 55331
Stockton, California 95205

John C. Morgan / Alex Padilla Bail Bonds                      $75.00
1946 University Park Drive
Sacramento, California 95825

      TOTALS:                                               $ 750.00            $




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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A O 245B -C A ED (R ev. 3/04) Sheet 5 - Criminal M onetary Penalties
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DEFENDANT:                       KENNETH CERVELLIN



[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the                         [ ] fine          [ ] restitution

      [ ] The interest requirement for the                        [ ] fine   [ ] restitution is modified as follows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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A O 245B -C A ED (R ev. 3/04) Sheet 6 - Schedule of Payments
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                                                      SCHEDULE OF PAYMENTS


      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $                 due immediately, balance due

            []       not later than  , or
            []       in accordance with               [ ] C,   [ ] D,   [ ] E, or   [ ] F below; or

B     [U]            Payment to begin immediately (may be combined with             [ ] C,   [ ] D, or [ ] F below); or

C     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $   over a period of            (e.g., months or years),
          to commence      (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of   (e.g., months or years),
          to commence      (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [ ] Payment during the term of supervised release will commence within     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
          time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[U] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate: Ronald Cervellin



[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[]    The defendant shall forfeit the defendant’s interest in the following property to the United States:
